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               IN THE UNITED STATES DISTRICT COURT
                                                                                          B
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


 DONNA CURLING, ET AL.,
 Plaintiffs,
                                               DECLARATION OF
 v.                                            J. ALEX HALDERMAN

 BRAD RAFFENSPERGER, ET AL.,
 Defendants.                                   Civil Action No. 1:17-CV-2989-AT




      Pursuant to 28 U.S.C. § 1746, J. ALEX HALDERMAN declares under

penalty of perjury that the following is true and correct:

      1.    I hereby incorporate my previous declarations as if fully stated herein. I

have personal knowledge of the facts in this declaration and, if called to testify as a

witness, I would testify under oath to these facts.

      2.    I have reviewed the expert disclosures prepared by Dr. Juan Gilbert and

Dr. Benjamin Adida for State Defendants. Neither Dr. Gilbert not Dr. Adida offers

any rebuttal to the numerous, critical vulnerabilities in Georgia’s BMDs that I

described in my July 1, 2021 expert report. Dr. Adida did not respond to my report

at all; State Defendants reissued prior declarations from him previously provided in

this litigation. Neither of them disputes the presence of any of the serious
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vulnerabilities I detail in my report or the steps I describe for exploiting those

vulnerabilities to alter individual votes and election outcomes in Georgia. Nor does

either of them claim to have examined any of the voting equipment used in Georgia

to evaluate whether the vulnerabilities I identified—or others—have been exploited

in any past election. Although each of them presumably could do this with the

permission of State Defendants, who I understand engaged them as experts in this

case, there is no indication either has undertaken any such inquiry or asked to do so.

As a result, neither Dr. Gilbert nor Dr. Adida has anything to say about the reliability

of the voting equipment used in Georgia elections. This is surprising, given that they

have had at least the last year to examine Georgia’s voting equipment.

      3.    State Defendants urgently need to engage with the findings in my report

and address the vulnerabilities it describes before attackers exploit them. Nothing in

Dr. Gilbert’s or Dr. Adida’s responses indicates that State Defendants understand

the seriousness of these problems or have taken any measures to address them and

their implications for the Plaintiffs’ individual votes in future elections. Established

practice in the security field would require State Defendants to promptly subject

Georgia’s voting system to rigorous testing in response to my report, to assess the

extent and significance of each of the vulnerabilities I described, and to identify and

promptly implement specific measures (where possible) to eliminate or mitigate each



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of those vulnerabilities. Neither Dr. Gilbert nor Dr. Adida indicates any such efforts

on their own part or on the part of State Defendants or anyone else. Again, Dr. Adida

did not respond to my report.

      4.    In my report—a 25,000-word document that is the product of twelve

weeks of intensive testing of the Dominion equipment provided by Fulton County—

I find that Georgia’s BMDs contains multiple severe security flaws. Attackers could

exploit these flaws to install malicious software, either with temporary physical

access (such as that of voters in the polling place) or remotely from election

management systems. I explain in detail how such malware, once installed, could

alter voters’ votes while subverting all the procedural protections practiced by the

State, including acceptance testing, hash validation, logic and accuracy testing,

external firmware validation, and risk-limiting audits (RLAs). Finally, I describe

working proof-of-concept malware that I am prepared to demonstrate in court.

      5.    My report concludes, inter alia, that Georgia’s BMDs are not

sufficiently secured against technical compromise to withstand vote-altering attacks

by bad actors who are likely to target future elections in the state; that the BMDs’

vulnerabilities compromise the auditability of Georgia’s paper ballots; that the

BMDs can be compromised to the same extent as or more easily than the DREs they

replaced; and that using these vulnerable BMDs for all in-person voters, as Georgia



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does, greatly magnifies the level of security risk compared to using hand-marked

paper ballots and providing BMDs to voters who need or request them.


Reply to Declaration of Dr. Juan Gilbert

      6.    Rather than engage with the facts in my report, Dr. Gilbert responds

largely with vague generalities. He gives no indication that he has ever used an ICX

BMD, let alone tested its security. He begins by conceding that “any computer can

be hacked,” but he contends that “this general statement is largely irrelevant,”

because hand-marked paper ballot systems use computers too (to scan the ballots)

(¶ 6). His position is inconsistent with accepted standards for election security and

with the facts of the particular voting system used in Georgia.

      7.    My testing has shown that the BMDs used in Georgia suffer from

specific, highly exploitable vulnerabilities that allow attackers to change votes

despite the State’s purported defenses. There is no evidence that Georgia’s ballot

scanners suffer from the same extraordinary degree of exploitability, nor does

Dr. Gilbert contend they do. He ignores the relative ease with which Georgia’s

BMDs can be hacked, including by a voter in a voting booth in mere minutes. That

extreme difference in security as compared to other voting technologies, particularly

hand-marked paper ballots, is far from “irrelevant” as Dr. Gilbert implies.




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      8.    Furthermore, even if the scanners were just as insecure as the BMDs,

Georgia’s practice of requiring essentially all in-person voters to use highly

vulnerable BMDs would needlessly give attackers double the opportunity to change

the personal votes of individual Georgia voters, since malware could strike either

the BMDs or the scanners. Accepted standards in election security compel reducing

points of attack for bad actors, not unnecessarily expanding them—a point

Dr. Gilbert ignores.

      9.    Lastly, Dr. Gilbert also ignores that accepted election security protocols

include an effective measure to protect against hacks of ballot scanners when the

ballots are hand-marked rather than generated by BMDs—namely, reliable risk-

limiting audits (RLAs), which would have a high probability of detecting any

outcome-changing attack on the scanners. Not only do Georgia’s BMDs defeat the

efficacy of RLAs, but Dr. Gilbert continues to ignore the fact that Georgia requires

an RLA of just one statewide contest every two years (and, to my knowledge, has

not adopted specific, adequate procedures to ensure a reliable RLA for that one audit

every other year).

      10. Dr. Gilbert goes on to discuss issues related to voter verification of

BMD ballots (which I respond to below). Yet he fails to address the potential for

attackers to cheat by changing only the QR codes printed by Georgia’s BMDs.



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Voters cannot read the QR codes, but they are the only part of the ballots that the

scanners count. My report details several routes by which malicious hardware or

software can manipulate the QR codes and cause the recorded votes to differ from

voters’ selections. In principle, a rigorous risk-limiting audit would be likely to

detect such an attack if the attacker changed enough votes to alter the outcome of

the contest being audited, but again Georgia rules require such an audit in only a

single statewide contest once every two years. As my report explains, this leaves the

vast majority of elections and contests in Georgia vulnerable to QR code (and others)

attacks, yet Dr. Gilbert says nothing about this threat.

      11. Instead, Dr. Gilbert focuses exclusively on a different threat: attacks that

change both the QR codes and the ballot text. In addition to the barcode-only attacks

I just discussed, my report demonstrates that Georgia’s BMDs can be manipulated

so that both the barcodes and the printed text indicate the same fraudulent selections.

No audit or recount can catch such fraud, because all records of the voter’s intent

would be wrong. The only reliable way to detect it would be if enough voters

carefully reviewed their ballots, noticed that one or more selections differed from

their intent, and reported the problems to election officials, and if Georgia officials

then discerned from the pattern of voter reports that the BMDs were systematically

misbehaving. Thus, Dr. Gilbert is mistaken when he contends that the distinction



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between “voter-verifiable” and “voter-verified” paper ballots “only matters in

principle” (¶ 7). All BMD ballots are potentially voter-verifiable, but unless enough

BMD ballots are actually voter-verified, BMD-based attacks could alter election

outcomes even in the rare instances where the State conducts a risk-limiting audit.

And unless every BMD ballot is actually voter-verified, BMD-based attacks could

alter individual voters’ selections without detection..

      12. A large body of recent scientific evidence has established that few voters

are likely to catch errors caused by malicious BMDs. I have reviewed this evidence

in previous declarations.1 It comes from both field observations (which report how

long real voters review their ballots during real elections) and laboratory tests (which

report the fraction of errors that subjects detect when voting on hacked BMDs in

simulated elections). These methodologies are complementary, and results to-date

from all studies of both kinds point to a low rate of voter-verification.

      13. Dr. Gilbert criticizes field observations because “[t]ime spent reviewing

a ballot has little to do with whether it was actually verified” (¶ 9). This claim is

inconsistent with accepted election security principles. Of course, they are not

exactly the same question, but obviously the time spent reviewing a ballot can



1
 Halderman decl. (Dec. 16, 2019), Dkt. 682 at 23-33; Halderman decl. (Sept. 1,
2020) Dkt. 855-1 at 6-8, 55.

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provide important insight into whether it was likely verified. For example, we can

conclude that a voter who spends only a second or two reviewing a lengthy,

complicated ballot is unlikely to have reliably verified each of their selections on the

ballot. And of course, the same is true for a voter who spends no time at all reviewing

their ballot. Review time is both practical to measure and clearly correlated with the

error detection success, making it a valuable and relevant metric, as multiple studies

confirm.

      14. Dr. Gilbert seems to contend, without evidence, that a casual glance is

sufficient to review Georgia-style ballots because selections are printed together

with party affiliations (¶ 9). He cites no research (and I am unaware of any) that

supports this conclusion, particularly when, as in Georgia, the party affiliations are

printed in small type and in a different horizontal position for each contest. A real

BMD ballot is reproduced on page 15 of my expert report. This is just one example

of such a ballot; they can be longer and more confusing. Dr. Gilbert provides no

basis for believing that voters would likely catch deliberate errors caused by

compromised BMDs when voting such a ballot.

      15. Dr. Gilbert references my award-winning peer-reviewed study about

voter verification behavior, which found very poor rates of error detection and




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reporting in a mock election using BMDs that my team hacked (¶ 10).2 He contends

that my study “ignores the reaction to such manipulation in an actual election,

particularly one as heated in the public domain as the 2020 Election.” (¶ 11). He

does not explain how or why such circumstances would be expected to materially

increase voter verification of their respective BMD ballots, nor does he cite any

support for his claim to believe they would. And, just last week, the Atlanta Journal-

Constitution obtained a study (under the Georgia Open Records Act) commissioned

by the Secretary of State’s Office in which researchers from the University of

Georgia observed Georgia voters during the November 2020 election and reported

how long they spent reviewing their BMD ballots.3 Although it appears the Secretary

of State had this study at the time of Dr. Gilbert’s response to my report, he does not

address or acknowledge it. The new study suggests that voters in the real world

review their ballots even less carefully than voters in recent laboratory studies—

despite the reminders election workers are supposed to give them to carefully review



2
  Matthew Bernhard, Allison McDonald, Henry Meng, Jensen Hwa, Nakul Bajaj,
Kevin Chang, and J. Alex Halderman, “Can Voters Detect Malicious Manipulation
of Ballot Marking Devices?” In 41st IEEE Symposium on Security and Privacy
(May 2020). Available at https://ieeexplore.ieee.org/document/9152705.
3
  Mark Niesse, “Under half of Georgia voters checked their paper ballots, study
shows,” Atlanta Journal-Constitution (July 27, 2021). Available at
https://www.ajc.com/politics/under-half-of-georgia-voters-checked-their-paper-
ballots-study-shows/6HSVHHFOBRBDPODRZXLIBTUS64/.

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their ballots at the polling sites, which Dr. Gilbert emphasizes as a remedy for poor

voter verification of BMD ballots.4

      16. The University of Georgia researchers report that 20% of voters they

observed did not check their ballots at all.5 Only about 49% examined their ballots

for at least one second, and only 19% did so for more than five seconds. This is

significantly worse performance than observed in my study, which found that when

voters were verbally prompted to review their ballots before casting them, as should

occur in Georgia, 63% of voters reviewed their ballots for only two seconds or more,

compared to 19-49% in the new study.

      17. This suggests that laboratory studies like mine tend to overestimate the

rate at which real Georgia voters would detect errors on their BMD ballots. Since

real Georgia voters were observed to review their ballots even less carefully than the



4
  Secretary Raffensperger appears to disagree with Dr. Gilbert about the value of
measuring voter review time for assessing voter verification performance. He told
the Atlanta Journal-Constitution that the new study “shows voters do indeed
review their ballots for accuracy before casting them” and offers “proof the votes
that were counted were for the candidates the voters intended.” (Id.). I agree that
the new study provides valuable insights about voter behavior, but, contrary to the
Secretary’s pronouncements, the results indicate that real Georgia voters are even
less likely to detect errors caused by compromised BMDs than previous studies
have suggested.
5
  Audrey A. Haynes and M.V. Hood III, “Georgia Voter Verification Study”
(January 22, 2021). Available at https://s3.documentcloud.org/documents/
21017815/gvvs-report-11.pdf.

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participants in my study, it is reasonable to infer that real voters would catch an even

smaller fraction of errors. The participants in my study who were similarly prompted

to review their ballots caught 14% of errors. Therefore, real voters in Georgia are

likely to catch substantially less than 14% of errors.

      18. How often would voters have to detect errors on their BMD ballots to

effectively safeguard against attacks? The answer depends on the margin of victory,

since an outcome-changing attack would need to change fewer votes in a close

contest. The model from my study shows that, given the margin of victory from the

2020 Presidential contest in Georgia, voters would need to have detected 46% of

errors for there to be even one error report per 1000 voters, under a hypothetical

scenario where the election outcome had been changed by hacked BMDs. 6 The

University of Georgia observations show that barely 49% of voters looked at their

ballots for even a second, let alone studied them carefully enough to reliably spot

errors.




6
  To reiterate, the November presidential race was the only state-wide contest
subjected to a risk-limiting audit. In other contests, attackers could change the
outcome by tampering with only the ballot QR codes, and voters would have no
practical way to detect this manipulation regardless of how diligently they
reviewed their ballots.

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       19. Dr. Gilbert performs a similar calculation using the baseline error

detection rate measured in my study. He finds that an outcome changing attack on

Georgia’s Presidential contest would have resulted in only 832 voters noticing that

their BMD ballots showed the wrong selection. Dr. Gilbert suggests that there have

not been such complaints from any voters, and says he finds it implausible that so

many voters would have “simply not said anything or otherwise simply corrected

their ballot and thought nothing of it then or since” (¶ 12).

      20.    This is an oddly constructed hypothetical, since Curling Plaintiffs do not

claim here that the Presidential outcome was altered by hacking the BMDs. And

Dr. Gilbert does not indicate any effort to determine the total number of spoiled

ballots in Georgia’s Presidential contest, which he presumably could have explored

with State Defendants. Neither does he provide any basis to believe there were only

832 or fewer spoiled ballots. But suppose for the sake of argument that the

Presidential election outcome in Georgia had been altered by hacking the BMDs, and

there were complaints from the 832 voters that Dr. Gilbert has calculated. What then?

It seems all but certain that these complaints would have been dismissed or drowned

out in the cacophonous aftermath of the election or simply disregarded by election

workers at the polling sites as voter errors. Yet the official count, the risk-limiting

audit, and the recount would all have found the wrong winner, and there would be no



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way to recover any altered vote or correct the election outcome short of rerunning the

election. With a mere 832 complaints among 5 million participating voters (amidst a

sea of other complaints, real and imagined), it is unlikely that poll workers or election

officials, including State Defendants, would realize or even suspected there was a

systemic problem with the BMDs, and it is completely implausible that they would

take the drastic but necessary step of asking Georgians to vote again. Georgia’s

election system is susceptible to this extraordinary risk as long as it remains

vulnerable to the attacks I described in my report (and potentially others).

       21. To get to the point of making a decision to rerun an election, State

Defendants (among others, perhaps) would first need to know how many voters

discovered a problem when verifying their ballots. As Dr. Gilbert points out, the

number of spoiled BMD ballots provides an upper bound on the number of voters

who discovered and corrected an error (¶ 12). He does not say how many spoiled

ballots there actually were in November 2020. If State Defendants knew the number

was less than 832, they likely would have shared this fact with Dr. Gilbert, and he

would have stated it in his report. It is reasonable to infer that either there were more

than 832 spoiled ballots (and the attack is plausible) or State Defendants do not know

how many BMD ballots were spoiled during the election, eight months later, despite




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what Dr. Gilbert acknowledges those ballots would suggest about the reliability of

the election.

      22. That State Defendants may not know this information is consistent with

gaps in other important election data that Georgia counties report to the Secretary of

State. State Defendants recently produced electronic data (election projects) that I

understand were required to be returned to them by counties after the November

2020 and January 2021 elections. In both elections, a large fraction of counties failed

to return any data, returned the wrong data, or omitted data necessary for assessing

the security and integrity of the result, such as election databases or ballot images.

More than six months after these elections, the Secretary of State has not been able

to assemble these electronic records and has not indicated any effort or willingness

to do so. Yet the only way that State Defendants could use the number of spoiled

ballots as a defense against BMD-based cheating would be if the poll workers

accurately tracked it, counties accurately aggregated it, and the Secretary’s Office

received such data from across the state before the election result was determined.

Even then, it is unlikely that the Secretary would be prepared to react by rerunning

the election if the number of spoiled ballots exceeded the number predicted in an

outcome-changing attack.




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       23. Given the ineffectiveness of such defenses and the critical security

problems in Georgia’s BMDs, I (like Dr. Appel) recommend that BMDs be reserved

for voters who need or request them, as is the case in most states. Dr. Gilbert

responds by claiming, without evidence, that “[d]isabled voters are even less likely

to identify an error on their printed ballot” (¶ 14). I am unaware of any study that

supports this sweeping indictment of voters with disabilities, which encompasses a

vast array of disabilities that would not impact the ability of the voter to identify an

error on their printed ballot in any way. He also contends that blind voters cannot

detect errors on their ballot at all, but this is not true. Many blind voters use assistive

technology to read printed text and likely could do so to verify their ballots.

Moreover, only some voters who need BMDs are blind. For instance, those with

motor impairments that prevent them from marking a ballot by hand would not

necessarily have any greater difficulty verifying the printed text than any other voter.

In any case, if BMDs are used primarily by voters with disabilities (as in most

jurisdictions that use BMDs), they will represent a much smaller target,7 and an



7
  Although Dr. Gilbert cites a figure that would imply that 10% of Georgians who
voted in 2020 were disabled, data from Maryland, where BMDs are available upon
request, suggests that only about 1.8% of voters would request to use BMDs if they
were offered a hand-marked ballot first. (Halderman decl., Aug. 19, 2020, Dkt.
785-2 at 49.) Dr. Gilbert’s citation to the number of all Georgia voters with
disabilities is highly misleading since, again, very few of those voters would be

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outcome-changing attack on any given election will be detectable with a much lower

rate of voter error detection than when all in-person voters use BMDs as they do in

Georgia today. This in turn creates a strong disincentive for bad actors to attempt

hacking an election (the risk likely is not worth the reward when the outcome is

highly unlikely to be changed), which means individual votes would be less likely

to be altered by hacking.

      24. In his only direct response to my expert report, Dr. Gilbert states that he

is not aware that I have “provided equipment marred by ‘undetectable’ hacks to any

other independent researcher” (¶ 15).8 This is a curious and ironic criticism coming

from Dr. Gilbert, since he evidently chose not to evaluate my findings through an

examination of the voting equipment himself, which he does not explain. Moreover,

Dr. Gilbert misreads my report. It does not claim that malicious software infecting a

BMD would be undiscoverable by any possible means. If an individual BMD is




unable to vote on a hand-marked paper ballot, consistent with the number reported
in Maryland.
8
  Dr. Gilbert ignores that, as I understand it, State Defendants have objected to my
report and the underlying work being shared with third parties (except Dominion),
including other independent researchers, with whom I am eager to share my work
for review. I am confident in my findings and believe they should be shared
promptly with appropriate election security researchers and officials in an effort to
mitigate the critical vulnerabilities in Georgia’s voting equipment that I describe. I
invite Dr. Gilbert to join me in seeking State Defendants’ consent to do that.

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known to contain malware, there will likely be some level of detailed forensic

scrutiny that can detect where the malware is, perhaps requiring months of expert

analysis per machine at extraordinary expense. It would be completely infeasible to

perform this level of analysis on every machine before every election, much less

between an election and the deadline for certification of its results. (And after

manipulating ballots, malware could remove all traces of its presence from a

machine, defeating any possible post-election examination of the device.) What my

report shows is that vote-stealing malware of the type I have constructed would not

be detected by any of the defenses that State Defendants purport to practice. I

describe in detail how such malware would defeat QR code authentication, logic and

accuracy testing, on-screen hash validation, and external APK validation (as was

used by Pro V&V after the November election). Dr. Gilbert offers no rebuttal to

these findings. He does not dispute them or even address them.

      25.    Moreover, there is already an example of an “undetectable” attack

entered into testimony: exploitation of the Drupal vulnerability discovered by Logan

Lamb in the Center for Election Systems server. As Lamb attested, the developers of

the primary tool for detecting this vulnerability stated that “[n]either [the defensive

tool] nor an expert can guarantee a website has not been compromised. They can only




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confirm with certainty a website has been compromised.”9 Furthermore, the Drupal

developers state that any server running the vulnerable software after the initial

disclosure of the vulnerability should be assumed to have been compromised unless

it was patched within hours of disclosure. According to the timeline presented in

Lamb’s declaration, he found the KSU server to be in a vulnerable state on August

28, 2016, nearly two years after the initial announcement of the critical vulnerability

(October 15, 2014).10 The KSU server image also contains evidence that a second

vulnerability, the so-called Shellshock flaw, was exploited on December 2, 2014.11

This vulnerability was publicly disclosed more than two months earlier and widely

publicized in the media as a critical vulnerability, yet the KSU server remained

unpatched.

      26.    An attacker who compromised the KSU server could therefore have

maintained undetected access to the compromised server. Since the server remained

in a vulnerable state undetected for almost two years, it is highly likely that it was

successfully attacked at some point in time. An attacker who did so would have been

able to move laterally to other systems within the CES network and to other



9
  Lamb decl., Dkt. 258-1 at 19.
10
   See “Drupal Core - Highly Critical - Public Service announcement” (Oct. 29,
2014), available at https://www.drupal.org/PSA-2014-003.
11
   Halderman decl. (Sept. 1, 2020) Dkt. 855-1 at 23.

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components of Georgia’s voting system. As I have previously pointed out, many

election system components that could have been compromised in this way are still

in use in Georgia today, where they provide a means by which attackers could spread

vote-stealing malware to the BMDs.

         27. Rather than address the many threats to Georgia’s voting system,

Dr. Gilbert persists in drawing illogical comparisons between BMDs and hand-

marked paper ballots. For instance, he questions why Plaintiffs have presented no

research “regarding voters’ proclivity to review [hand-marked paper ballots] to

ensure their ballots are marked and will count as intended” (¶ 8). Much like

Dr. Gilbert’s earlier testimony that “[i]n essence, a BMD is nothing more than an

ink pen,”12 one does not need expertise in election security to find fault with this

reasoning. Preventing voters from making accidental mistakes is a completely

different problem from preventing their selections from being deliberately and

systematically changed by an attacker who has compromised the BMDs. There is

abundant evidence that voters do sometimes make errors whether filling out a ballot

by hand or by machine. Bad ballot design exacerbates this problem with both voting

modalities, but following ballot design best practices can greatly reduce it. Both




12
     Gilbert decl., Dkt. No. 658-3 at 60.

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BMDs and scanners that count hand-marked ballots can also be configured to reject

overvotes and to warn voters about undervotes, the most common kinds of voter

errors. Moreover, unlike older technologies for counting hand-marked ballots, the

scanners used in Georgia (when properly configured) can detect improperly or

incompletely marked bubbles and present them to human operators to adjudicate

whether the marks should count as votes. Election officials can use all of these

options to help protect voters from their own mistakes, but none of them offers

protection against a BMD that deliberately changes the selections printed on a

voter’s ballot (or those encoded in the ballot barcode). The central problem with

Georgia’s highly vulnerable BMD system—that attackers can change all records of

the voter’s intent without being detected by election officials—has no parallel in a

hand-marked paper ballot system.

      28. Dr. Gilbert concludes as he started, with vague and sweeping

generalities. “Simply put, BMD elections systems are no more insecure than [hand-

marked] systems” (¶ 16). It is unclear whether he is claiming that all BMD systems

are at least as secure as all hand-marked systems or merely that some specific BMD

system (such as the one he recently developed himself to address some of the

reliability problems that exist with Georgia’s BMDs) is at least as secure as some

hand-marked system, but this is of little consequence. The only BMD system that is



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relevant here is the Dominion ICX as used in Georgia. As my expert report details,

Georgia’s BMD system suffers from numerous, severe vulnerabilities. These

vulnerabilities would have little potential to change election outcomes if use of

BMDs were limited to voters who need or request them, as Curling Plaintiffs desire,

and they would be far less likely to affect the personal votes of individual Georgia

voters.


Reply to Declarations of Dr. Benjamin Adida

       29. The declarations by Dr. Adida that State Defendants have submitted

predate my expert report, so Dr. Adida’s opinions are not informed by the critical

vulnerabilities in Georgia’s BMD equipment that my analysis has revealed or by

anything else in my lengthy, detailed report. Nor are they informed by any events

that occurred in the year since he first provided these declarations, such as any aspect

of the November 2020 election in Georgia or the Secretary of State’s study indicating

that few voters verified their respective ballots in that election.

      30.    Nevertheless, Dr. Adida’s first declaration is correct that “Running a

risk-limiting audit is one of the most important advances states can take in improving

election integrity—without an RLA, we are effectively trusting computerized

scanners to count our paper ballots” (Dkt. 834-2 at ¶ 5). This is true, but, as my expert

report shows, without a risk-limiting audit Georgia is also trusting its critically


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vulnerable BMDs to generate ballots with QR codes that correctly reflect voters’

selections. Obviously compromised BMDs and compromised scanners could change

individual votes and election outcomes. But again, nothing suggests that Georgia’s

scanners suffer from such easily exploitable critical vulnerabilities as the BMDs do.

      31.    Dr. Adida and I also agree that RLAs are important for discovering

whether compromised BMDs have manipulated enough ballot QR codes to change

the outcome of an election (¶ 12). Although RLAs are, as Dr. Adida says, “of the

utmost importance” (¶ 6), Georgia does not require an RLA in the vast majority of

elections and the vast majority of contests, leaving both election outcomes and

individual voters’ votes susceptible to manipulation via BMD malware. Additionally,

it is insufficient for states to merely (in Dr. Adida’s words) “take meaningful steps to

implement RLAs”; rather, states have to actually conduct reliable RLAs, which

Georgia does not intend to do for the vast majority of its elections (or perhaps any of

its elections, depending on the reliability of the audit procedures it implements).

       32. In his second declaration, Dr. Adida refers to a “dispute amongst

academics regarding whether voters verify their ballots using ballot-marking

devices” (Dkt. 912-1 at ¶ 11). This statement reflects a misunderstanding of the state

of research today. I am not aware of any scientific research that supports the

proposition that Georgia voters would likely detect more than a small fraction of



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errors caused by BMD malware. In contrast, the past two years have seen a wave of

laboratory studies and multiple field observation studies addressing this question, all

of which strongly indicate the opposite, that few voters carefully review their ballots

and so the vast majority of errors caused by BMD malware would likely to go

undiscovered and uncorrected. Although there once was uncertainty about whether

most voters carefully verify their BMD ballots, there is no longer any serious

scientific dispute that they do not. It is the hallmark of good science (and of good

public policy) that it evolves based on new evidence, such as the University of

Georgia study commissioned by the Secretary of State that I discussed above—

which Dr. Adida has not addressed.

      33. Georgia’s election system needs to evolve as well. Due to the critical

vulnerabilities in Georgia’s BMDs that are described in my expert report, Georgia

voters face an extreme risk that BMD-based attacks could manipulate their

individual votes and alter election outcomes. Even in the rare contests for which the

State requires a risk-limiting audit, the scientific evidence about voter verification

shows that attackers who compromise the BMDs could likely change individual

votes and even the winner of a close race without detection. Georgia can eliminate

or greatly mitigate these risks by adopting the same approach to voting that is

practiced in most of the country: using hand-marked paper ballots and reserving



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BMDs for voters who need or request them. Absent security improvements such as

this, it is my opinion that Georgia’s voting system does not satisfy accepted security

standards. Neither Dr. Gilbert nor Dr. Adida offers a contrary opinion in their

respective declarations, instead ignoring the critical issue of whether the voting

system used in Georgia—which neither claims to have examined—reliably protects

the right to vote for individual Georgia voters.



      I declare under penalty of the perjury laws of the State of Georgia and the

United States that the foregoing is true and correct and that this declaration was

executed this 2nd day of August, 2021 in Rushland, Pennsylvania.




                                        J. ALEX HALDERMAN




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